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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

 DELROY A. CHAMBERS, JR.,

        Plaintiff,

 v.

 LEHMAN PROPERTY MANAGEMENT, INC.,

       Defendant.
 _________________________________________/

                                           COMPLAINT
                                               and
                                          JURY DEMAND

        Plaintiff, Delroy A. Chambers, Jr., by and through his undersigned attorneys, files this

 Complaint for injunctive and declaratory relief, damages, costs, and attorneys’ fees against

 Defendant, Lehman Property Management, Inc., and as good grounds states as follows:

                                 PRELIMINARY STATEMENT

        1.      This action arises as a result of Defendant’s discriminatory actions perpetrated

 against Black people with respect to the rental of a home in Broward County, Florida (the

 “Dwelling”).

        2.      Specifically, Defendant has violated the Fair Housing Act by, among other things:

 otherwise making unavailable and denying the Dwelling to Mr. Chambers because of race.

                                  JURISDICTION AND VENUE

        3.      Jurisdiction is invoked pursuant to 42 U.S.C. § 3613(a), in that Plaintiff asserts his

 claims of housing discrimination in a civil action, and also pursuant to 28 U.S.C. §§ 1331, 2201

 and 1343(a)(4), in that this is a civil action seeking to redress the deprivation of the right to fair

 housing secured to Plaintiff by the Fair Housing Act.
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        4.      Plaintiff seeks declaratory relief pursuant to 28 U.S.C. §§ 2201 and 2202. Plaintiff

 seeks permanent injunctive relief pursuant to Rule 65, Federal Rules of Civil Procedure.

        5.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b) and 1391(c) in that

 the subject property is located in this district, the events and/or omissions giving rise to the claims

 herein occurred in this district, and the Defendant conducts business in this district.

                                              PARTIES

        6.      Plaintiff, Delroy A. Chambers, Jr., is a Black male that serves as a fair housing

 tester who seeks to enforce fair housing laws so that people are protected from discriminatory

 housing practices. Mr. Chambers attempts to accomplish these goals by engaging in testing for

 fair housing violations and pursuing enforcement of meritorious claims, among other things. In

 this capacity, Mr. Chambers poses as a renter or purchaser for the purpose of collecting evidence

 of discriminatory housing practices, without intent to rent or purchase a home. At all relevant

 times, Mr. Chambers was acting in this capacity as a tester when he conducted an investigation

 into the discriminatory actions perpetuated by Defendant.

        7.      As a fair housing tester and advocate dedicated to advancing the rights of those

 historically discriminated against, Mr. Chambers attempts to locate housing providers and

 advertisers in order to test their compliance with various fair housing laws. Mr. Chambers

 conducts such testing efforts consistent with the guidance and instructions outlined by the U.S.

 Department of Housing and Urban Development (HUD), housing advocacy groups, and

 established case law.

        8.      Mr. Chambers is deeply committed to fair housing and the goals of the Fair Housing

 Act. Mr. Chambers was and continues to be adversely affected by the acts, omissions, policies,

 and practices of the Defendant.
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        9.      Defendant, Lehman Property Management, Inc., is a Florida Profit Corporation that

 is engaged in the business of real estate.

                                     FACTUAL ALLEGATIONS

        10.     While investigating discrimination in the housing market in early 2019, Mr.

 Chambers encountered an advertisement for the rental of a home in Broward, Florida. The

 advertisement stated, among other things: "No Felonies."

        11.     This statement clearly indicates that the rental of the home is subject to a blanket

 prohibition regarding an applicant’s felony criminal history, which is unlawful under the Fair

 Housing Act, as it has a disparate impact on Black people, and fails to serve a substantial,

 legitimate, nondiscriminatory interest of Defendant.

        12.     As part of Mr. Chambers’s fair housing testing efforts as described above, Mr.

 Chambers, posing as a potential renter, responded to the advertisement, and attempted to negotiate

 for the rental with Defendant.

        13.     In response, Defendant indicated that the advertised home was no longer available,

 but the Dwelling (another unit located in the same complex with the same layout and offered for

 the same price) was available.

        14.     Mr. Chambers continued the test by referencing the blanket prohibition regarding

 felony criminal history that was noted on the advertisement, and asking whether felonies would

 result in an automatic denial of the rental of the Dwelling.

        15.     Defendant responded by confirming that felonies will result in an automatic denial

 of the Dwelling.

        16.     Such actions and statements serve to discourage Mr. Chambers from applying,

 inspecting and renting the Dwelling; and restrict the choices of Mr. Chambers by word or conduct
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 in connection with seeking, negotiating for, renting the Dwelling so as to perpetuate, or tend to

 perpetuate, segregated housing patterns, or to discourage or obstruct choices in a community,

 neighborhood or development. As such, these actions constitute efforts to deprive Mr. Chambers

 of housing opportunities.

        17.     HUD has found that “where a policy or practice that restricts access to housing on

 the basis of criminal background has a disparate impact on individuals of a particular race … such

 policy or practice is unlawful under the Fair Housing Act if it is not necessary to serve a substantial,

 legitimate, nondiscriminatory interest of the housing provider.” See HUD, “Office of General

 Counsel Guidance on Application of Fair Housing Act Standards to the Use of Criminal Records

 by Providers of Housing and Real Estate-Related Transactions” (April 4, 2016).

        18.     According to recent data, studies and HUD findings, Black people are arrested,

 convicted, and imprisoned at vastly disproportionate rates in Florida and the country as a whole.

 As such, Defendant's policy actually and predictably result in a disparate impact to Black people.

        19.     HUD has found that no substantial, legitimate, nondiscriminatory interest can be

 served where “[a] housing provider … imposes a blanket prohibition on any person with any

 conviction record – no matter when the conviction occurred, what the underlying conduct entailed,

 or what the convicted person has done since then.” Id.

        20.     As such, Defendant’s blanket prohibition regarding an applicant’s felony criminal

 history is unlawful under the Fair Housing Act, as it has a disparate impact on Black people, and

 fails to serve a substantial, legitimate, nondiscriminatory interest of the housing provider.

        21.     Mr. Chambers was angered and insulted that Defendant was making the Dwelling

 unavailable to him and denying it to him based on its blanket prohibition regarding an applicant’s

 felony criminal history.
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         22.    As a Black person who has been the subject of discrimination throughout his life,

 Mr. Chambers is particularly sensitive to discriminatory practices. Mr. Chambers was insulted

 and emotionally distressed by being denied housing based on the Defendant’s blanket prohibition

 regarding an applicant’s felony criminal history and being subjected to such discriminatory

 policies.

         23.    Mr. Chambers was and is saddened, angered, and insulted by the fact that the

 Defendant’s rental policy includes a blanket prohibition regarding an applicant’s felony criminal

 history that has a discriminatory impact and serves no substantial, legitimate, nondiscriminatory

 interest, and are denying applicants pursuant to that policy. Mr. Chambers has spent a significant

 amount of time thinking about all the other Black people who may have been denied housing by

 Defendant because of this blanket prohibition, and while doing so, has felt the aforementioned

 emotions.

         24.    Defendant’s unlawful conduct proximately caused Mr. Chambers to suffer the

 aforementioned emotions, which have manifested into stress, unpleasant rumination, mental strain,

 and feelings of indignity, hopelessness and anxiety about race discrimination in housing.

         25.    Consistent with his fair housing testing efforts, Mr. Chambers has a practice of

 continuing to monitor and test those entities and individuals found to have been discriminating.

 To those ends, Mr. Chambers will continue monitoring Defendant and its agents in order to

 determine its ongoing compliance with the Fair Housing Act, and will continue to do so throughout

 the pendency of this matter and after its conclusion.
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                                        COUNT 1:
                            VIOLATION OF THE FAIR HOUSING ACT

         26.       Plaintiff repeats and realleges paragraphs 1 through 25 as if fully set forth herein.

         27.       This Count 1 is brought by Plaintiff against the Defendant, Lehman Property

 Management, Inc.

         28.       Defendant is liable to Plaintiff for all injuries caused by the Fair Housing Act

 violations committed by Defendant, and its agents.

         29.       Defendant Lehman Property Management, Inc. authorized its agents to act for it

 when they committed the Fair Housing Act violations alleged herein. Defendant’s agents accepted

 the undertaking of acting on behalf of Defendant Lehman Property Management, Inc. when they

 committed the Fair Housing Act violations alleged herein.                Defendant Lehman Property

 Management, Inc. had control over its agents when they committed the Fair Housing Act violations

 alleged herein.

         30.       Defendant has violated the Fair Housing Act by, among other things, otherwise

 making unavailable and denying the Dwelling to Mr. Chambers because of race.

         31.       A discriminatory purpose, not any legitimate reason, was a motivating factor behind

 Defendant’s aforementioned discriminatory actions and/or omissions.

         32.       As a result of Defendant’s discriminatory conduct - committed despite being

 engaged in the business of real estate, coupled with Plaintiff’s ongoing monitoring efforts -

 Plaintiff has suffered, is continuing to suffer, and will in the future suffer irreparable loss and injury

 and a real and immediate threat of future discrimination by Defendant.

         33.       Defendant’s unlawful conduct and actions constitute discrimination and

 proximately caused Plaintiff’s damages as described above.
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        34.     In engaging in this unlawful conduct described above, Defendant acted recklessly

 or intentionally. This is evidenced, in part, by the fact that Defendant is engaged in the real estate

 business and are licensed real estate professionals, who have been educated, trained, and tested in

 fair housing laws, nonetheless chose to engage in unlawful discrimination.

        35.     As a tester who has been treated in a discriminatory fashion by Defendant, Mr.

 Chambers has suffered an injury in precisely the form the Fair Housing Act was intended to guard

 against, and therefore he has standing to maintain his claims under the Act's provisions.

        36.     Accordingly, Plaintiff is aggrieved by Defendant's discriminatory actions in

 violation of the Fair Housing Act.

        WHEREFORE, Plaintiff respectfully requests that the Court:

                A.      declare the actions, omissions, policies, and procedures of Defendant,

 complained of herein to be in violation of the Fair Housing Act;

                B.      enter a permanent injunction enjoining Defendant, its successors, and its

 servants, agents and employees, and all those acting in concert with it, from engaging in

 discrimination based on race;

                C.      enter a permanent injunction compelling Defendant, its successors, and its

 servants, agents and employees, and all those acting in concert with it, to amend any and all

 policies, procedures and practices, which discriminate against persons based on race;

                D.      award compensatory damages to Plaintiff against Defendant, to compensate

 Plaintiff for, among other things, the emotional distress, anger, insult and injury caused by

 Defendant’s discriminatory actions;

                E.      award Plaintiff his costs and reasonable attorneys’ fees in this action; and
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                  F.      award Plaintiff such other and further relief as the Court deems just and

 proper.

                                    DEMAND FOR JURY TRIAL

           Pursuant to Rule 38(b), Federal Rules of Civil Procedure, Plaintiff demands a trial by jury

 on all issues so triable in this matter.


                                                        Respectfully submitted,

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